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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE



             IN RE:

             YELLOW CORPORATION, et al
                                                                       CASE NO. 23-1106e (CTG)
                            (DEBTORS)

                                                                       Chapter 11


                                                                      SEPTEMBER 25,2023


              EMILY LOURO'S MOTION FOR RELIEF FROM
                                                                             AUTOMATIC STAY
            Emily Louro ("Movant"), a party in interest,
                                                            by her undersigned attomey,
     hereby moves pursuant to I I U.S.c.
                                           $$ 361-363 of the United States Bankruptcy code, for
                                                                                                                   relief
     from the automatic stay and respectfuily represents
                                                           as folrows:



            This court has jurisdiction over this proceeding
                                                                pursuant to 2g u.s.c.A.
                                                                                                $ 1334.
    The Movant has filed an action against
                                             the debtor in Meriden, cr Superior court
                                                                                                     with a return
    date of october 25,2022, docket number
                                                NNICV22- 602756g, (Emily Louro v. Roberr
                                                                                                              Slater,
    YRC' rnc'D/B/A YRC Freight), which case is
                                                      pending in the judicial district of New
                                                                                                          Haven at
    Meriden' This case alleges personal injuries and
                                                           damages to the plaintiff arising out
                                                                                                             of the
    negligent operation of a motor vehicle owned
                                                   and operated by the debtor corporation.




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            On August 6, Yellow Freight Corporation and certain of its affiliates, including the
    defendant in the Connecticut action YRC, INC D/B/A YRC FREIGHT, filed voluntary petitions

    underchapter 11 of title ll of theUnited States Code, 11U.S.C. $$ 101-1532 (the "Bankruptcy

    Code"), in the United States Bankruptcy Court for the District of Delaware.



            On August 24,2023, counsel for YRC, INC. D/B/A YRC FREIGHT filed 'Notice of

    Suggestion of Bankruptcy For Yellow Freight Corporation and Certain of Its Affiliates and

    Automatic Stay of Proceedings" in the connecticut state court action.



            In discovery responses by YRC, INC D/B/A YRC FREIGHT dated March 6,2023, in the

    state court action, they have stated that there was in effect on the date of the aforementioned

    motor vehicle collision, a policy of liability insurance in the amount of one million ($ 1,000,000)

    dollars underlying coverage and an excess liability policy of six million ($6,000,000) dollars. It

    was further represented in discovery responses that neither the carrier for the underlying liability

    policy nor the excess policy have disclaimed coverage and/or reserved the duty to indemni& any

    insured or person protected by their respective policies.



           The Movant Emily Louro represents that if this Court grants movant relief from
   automatic stay, she intends to seek damages in the state court action limited to the extent of the

   liability limits of the applicable insurance policies as aforementioned in Debtor's responses to
   discovery. She will not seek damages above or beyond the applicable insurance policy limits,




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    and the continuation of the state court action will not interfere with the bankruptcy filing of the

    Debtors

           The relief requested by Movant Emily Louro will not result in any prejudicial dissipation

    of Debtors' assets.

           As there was liability insurance coverage afforded to the Debtors in the state court action,

    delaying the state court action will serve to delay Movant from having her case adjudicated on

    the merits in state court, and the delay will result in a manifest injustice to the Movant.



                  WHEREFORE, the Movant requests that relief from stay be granted.


                     Dated at Hartford, Connecticut, this 25th day of Septemb er,2023




                                                        -*""*^I*^*
                                                        Attorney for Emily Louro
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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE




            IN RE:

            YELLOW CORPORATION, et al
                                                            :         CASE NO. 23-11069 (CTG)
                           (DEBTORS)
                                                            :         Chapterll


                                                            :         September 25,2023


                               ORDER OF EMILY LOURO'S
                      MOTION TO FOR RELIEF FROM AUTOMATIC STAY
           The Movant EMILY LOURO, having moved this court by motion dated September 25,

    2023, for relief from the automatic stay in order to permit the Movant: to proceed in her action

    in the Connecticut Superior Court to prosecute her action for personal injuries and damages but

    only to the extent of the liability insurance policies affording liability coverage for motor vehicle

   collisions to the Debtors/defendants in the state court action.




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           ORDERED, ADJUDGED AND DECREED that:

           1.      Relief from stay is hereby granted only to the extent that Movant is allowed to

    proceed against Debtor's liability insurance coverage as aforementioned; and the automatic stay

    is terminated with respect to the Movant.

           It is so ORDERED, this _       day of _,2023


                                                 Craig T. Goldblatt
                                                 United States Bankruptcy Judge




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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE


    IN RE:

    YELLOW CORPORATION, et al
                                                                   CASE NO.23-1106e (CTG)
                           (DEBTORS)
                                                                   Chapterll


                                               :                  September 25,2023

                                  CERTIFICATION OF SERVICE
           This is to certi$ that on the 25th day of September, 2023, a copy of Emily Louro,s
    Motion for Relief from Automatic Stay dated September 25, 2023 was mailed by United States

    mail postage prepaid to:

           Frederick J. Trotta, Sr., Esq., Halloran and sage, LLP., 265 Church St., Suite 802, New
           Haven, CT 06510;

           Laura Davis Jones, Esq., Peter J. Keane, Esq., Pachulski Stang Ziehl & Jones, LLp, g19
           North Market St, I 7th Floor, Wilmington, Deiaware l9g0l ;

           casey McGushin, Esq., conor P. McNamara, Esq., whitney c. Fogelberg, Esq., David
           Seligman, Esq., Richard U.S. Howell, Esq., Rob Jacobson, Esq., and Palrick l. Nash,
           Esq., Kirkland & Ellis LLP, 300 North LaSalle, Chicago, IL 60654:

           Michael Esser, Esq., Kirkland & Ellis LLP, 555 California Street, 27th floor, San
           Francisco, CA 94104; and

           Allyson B Smith, Esq., Kirkland & Ellis LLP, 601 Lexington Avenue, New york, Ny
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